Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 1 of 19




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-1636

COREY MCNELLIS,

       Plaintiff,

v.

DOUGLAS COUNTY SCHOOL DISTRICT, AND CATHY FRANKLIN, IN HER
INDIVIDUAL AND OFFICAL CAPACITY AS THE DIRECTOR OF HUMAN RESOURCES
FOR DOUGLAS COUNTY SCHOOL DISTRICT,

       Defendants.


                            COMPLAINT AND JURY DEMAND


       Plaintiff, Corey McNellis, by and through his attorneys of KONTNIK | COHEN, LLC,

hereby bring this Complaint and Jury Demand against Defendants, Douglas County School

District (“DCSD”) and Cathy Franklin, in her individual and official capacity (collectively

“Defendants”), under U.S. Const Amend. 1 and Section 42 U.S.C. § 1983, Title VII of the Civil

Rights Act of 1964 (“Title VII”), and the Colorado Anti-Discrimination Act (“CADA”), and

states as follows:

                                     I.      INTRODUCTION

       1.      Mr. McNellis was employed by Ponderosa High School for approximately

fourteen (14) years without any disciplinary action. On October 5, 2021, three days after Mr.

McNellis expressed his Christian belief, as the father of a student at Ponderosa, and in response

to a question by a co-worker, Mr. McNellis was placed on leave and terminated. Defendants

discriminated toward Mr. McNellis based on his Christian belief and because he expressed his

views, which are protected by the First Amendment.

                                                1
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 2 of 19




                                            PARTIES

       2.      Plaintiff, Corey McNellis is currently, and at all times relevant to this lawsuit, a

resident of the state of Colorado.

       3.      Defendant DCSD, is located at 701 Prairie Hawk Drive Castle Rock, CO.

       4.      Defendant DCSD is a publicly funded school district under the control of state

and local government in Colorado.

       5.      Defendant DCSD oversees Ponderosa, where Mr. McNellis worked from August

2007 until his wrongful termination on October 29, 2020.

       6.      Defendant Franklin is currently, and at all times relevant to this lawsuit, a resident

of the state of Colorado.

       7.      Upon information and belief Defendant Franklin is currently, and at all times

relevant to this lawsuit, was the Director of Human Resources for Defendant DCSD.

       8.      Upon information and belief Defendant Franklin was responsible for the decision

to terminate Mr. McNellis in violation of 42 U.S.C. § 1983, Title VII, and CADA.

                               II.    JURISDICTION AND VENUE

       9.      This action arises under the laws of the United States. Jurisdiction is conferred

upon this Court pursuant to 28 U.S.C. §§ 1331 and 1343 for the federal law claims, and 28

U.S.C. § 1367 for the state law claims.

       10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the events

giving rise to these claims occurred in the District of Colorado and the Defendants reside in the

State of Colorado.

       11.     Mr. McNellis established all necessary conditions precedent to filing this

Complaint and Jury Demand (“Complaint”).



                                                  2
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 3 of 19




       12.    A Joint Charge of Discrimination (CCRD Charge No. E2100010411 and EEOC

Charge No. 32A202100404) was filed with the Colorado Civil Rights Division (“CCRD”) and

the Equal Employment Opportunity Commission (“EEOC”) on February 23, 2021. Mr. McNellis

received a letter of right to sue from the CCRD on April 5, 2022, and the EEOC by way of the

U.S. Department of Justice on Mary 4, 2022. This action is being commenced within ninety (90)

days of the CCRD and EEOC notices.

                               III.     FACTUAL ALLEGATIONS

                                      Background Information

       13.    Mr. McNellis worked at Ponderosa High School for fourteen years.

       14.    Mr. McNellis began his career with Ponderosa as the Social Studies Teacher and

Assistant Coach in 2007 with a base salary of $37,196.00.

       15.    For Mr. McNellis’ evaluation for the 2007/2008 year, as a social studies teacher,

Mr. McNellis received all professional remarks, which is the highest mark possible.

       16.    At the end of the school year, DCSD elected to renew Mr. McNellis’ contract as a

Social Studies Teacher and promoted him to Head Coach for the 2008/2009 school year.

       17.    Mr. McNellis was also provided with a pay increase for the new school year to

$39,201.00.

       18.    For Mr. McNellis’ evaluation for the 2008/2009 year, as a social studies teacher,

Mr. McNellis again received all professional remarks the highest marks possible.

       19.    At the end of the school year, DCSD elected to renew Mr. McNellis’ contract as a

Social Studies Teacher and Head Coach for the 2009/2010 school year.

       20.    For Mr. McNellis’ evaluation for the 2009/2010 year, as a social studies teacher,

Mr. McNellis again received all professional remarks, the highest marks possible.



                                                3
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 4 of 19




        21.    At the end of the school year, DCSD elected to renew Mr. McNellis’ contract as a

Social Studies Teacher and Head Coach for the 2010/2011 school year.

        22.    For Mr. McNellis’ evaluation for the 2010/2011 year, as a social studies teacher,

Mr. McNellis received all professional remarks and one distinguished remark.

        23.    Mr. McNellis received comments such as “his students certainly do feel valued

and challenged in his classes. He strives to make his lessons rigorous and relevant for his kids.”

        24.    At the end of the school year, DCSD elected to renew Mr. McNellis’ contract as a

Social Studies Teacher and Head Coach for the 2011/2012 school year.

        25.    For Mr. McNellis’ evaluation for the 2011/2012 year, as a social studies teacher,

Mr. McNellis received all highly effective and effective marks, the two highest possible remarks.

        26.    At the end of the school year, DCSD elected to promote Mr. McNellis to Dean of

Students for the 2012/2013 school year.

        27.    This promotion came with a pay increase to $40,650.00.

        28.    For Mr. McNellis’ evaluation for the 2012/2013 year, as the Dean of Students,

Mr. McNellis never received less than a 3.0 rating out of a total 4.0 and was consistently rated as

highly effective.

        29.    At the end of the school year, DCSD elected to renew Mr. McNellis’ contract as

the Dean of Students and Head Coach for the 2013/2014 school year.

        30.    Mr. McNellis also received a pay increase to $42,276.00 for the 2013/2014 school

year.

        31.    At the end of the school year, DCSD elected to renew Mr. McNellis’ contract as

the Dean of Students and Head Coach for the 2014/2015 school year.

        32.    Mr. McNellis was given a raise to $43,755.66 for the 2014/2015 school year.



                                                 4
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 5 of 19




       33.      At the end of the school year, DCSD elected to promote Mr. McNellis to the

positions of Athletic Director and Assistant Principal for the 2016/2017 school year.

       34.      This promotion came with a pay increase to an annual salary of approximately

$90,000.

       35.      At the time of his termination, Mr. McNellis was earning approximately $98,285

annually.

       36.      Throughout his employment with DCSD, Mr. McNellis had consistently received

excellent performance reviews, as well as a steady increase in salary.

       37.      Until October 5, 2020, Mr. McNellis never received disciplinary action.

       38.      During the 2020 school year, Mr. McNellis was the parent of a child who was

attending Ponderosa.

                                   The Laramie Project Emails

       39.      On October 2, 2020, during the peak of the COVID-19 pandemic, Ms. Kayla

Diaz, Ponderosa’s Theatre Director, sent a group email to the entire Ponderosa staff including

Mr. McNellis.

       40.      Ms. Diaz informed all staff members that Ponderosa’s Theatre Company would

be performing The Laramie Project on October 23 and 24 of 2020.

       41.      The Laramie Project is a religiously charged play that covers distressing material.

The play depicts the aftermath of the 1998 murder of Matthew Shepard in Laramie, Wyoming.

The murder is widely acknowledged to have been a hate crime motivated by Shepard’s sexuality.

       42.      The play consists of a series of interviews from members of the Laramie

community. Several of the characters interviewed are Christian leaders, some of whom share




                                                 5
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 6 of 19




unsavory opinions regarding Shepard’s murder, and cite their Christian faith as the reason for

their views.

       43.     In her October 2, 2020 email, Ms. Diaz acknowledged the controversial nature of

the play. The email states, in relevant part:

       Due to language and content discussed in the show (there is no violence shown,
       only discussed) this is not a family-friendly show. We are advertising “[f]or
       mature audiences” and I would generally recommend high school age and up. We
       will be reaching out more soon about advertising in the school, but it is important
       that I can answer any question you may have and that you are aware of the nature
       of the play so that if we have students who have an aggressively adverse reaction
       to our show choice that you can support us in helping students understand. This is
       a play about perspectives, and we would not want anyone in the school to believe
       we are making a statement against anything other than hate and violence.

       44.     Ms. Diaz’s October 2, 2020, email specifically elicited responses from the rest of

the staff stating that she would be happy to “answer any questions [they]may have.”

       45.     On October 2, 2020, Mr. McNellis responded to the email chain crated by Ms.

Diaz and stated:

       Thanks Kayla [Ms. Diaz], I appreciate the email and I really do admire the hard work that
       you do. As a Dad of a student here and also as an employee in the school, what is my
       recourse if I disagree with the production? Was this a heads up to see if everyone is cool?

       46.     Mr. McNellis’ response was written on Friday evening and was written as a father

of a student at Ponderosa, asking what recourse he may have to a school production that is not

family friendly.

       47.     Several staff members responded to Ms. Diaz’s email offering their expertise.

       48.     Mr. Monroe, the history teacher, responded to the October 2, 2020, email from

Ms. Diaz acknowledging the difficulty of the subject matter and offering to help by providing a

“Social Studies perspective,”




                                                6
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 7 of 19




       49.     Ms. Carda responded and emphasized that, “[n]ot everyone has to agree with

every ideology that exists, but it is the discourse that is invoked that matters.”

       50.     Mr. McNellis responded to the emails from the other staff and offered to provide

a Christian perspective.

       51.     Mr. McNellis made it clear that offer was in his capacity as a father stating, “[f]or

the record, all of administration does not agree with me on this. I am totally solo.”

       52.     Between October 2, 2021, and October 5, 2021, the emails regarding The Laramie

Project were shared with DCSD’s Human Resources Director, Cathy Franklin, the Director of

Schools, Daniel Winsor, and Ponderosa Principal, Tim Ottmann.

                Ponderosa’s Discrimination and Retaliation Toward Mr. McNellis

       53.     On Saturday, Mr. Winsor called Mr. McNellis and informed him that Mr.

McNellis needed to stay home on Monday.

       54.     Mr. McNellis asked Mr. Winsor why he was being told to stay home and if he

acted unprofessionally in anyway.

       55.     Mr. Winsor informed Mr. McNellis that nothing was unprofessional, but that

Ponderosa needed Mr. McNellis to stay home Monday because of his “religious comments.”

       56.     On October 5, 2020, three days after Mr. McNellis expressed his Christian belief

in a public forum, Ms. Franklin, Mr. Winsor, and Mr. Ottmann called Mr. McNellis for a virtual

meeting (the “Meeting”).

       57.     Ms. Franklin, Mr. Winsor, and Mr. Ottmann had reviewed the emails regarding

the Laramie Project prior to the Meeting.

       58.     During the Meeting, Defendants informed Mr. McNellis that he was being placed

on leave.



                                                  7
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 8 of 19




          59.   Defendants’ decision to place Mr. McNellis on leave was an adverse employment

decision.

          60.   Defendants’ decision to place Mr. McNellis on leave was due to Mr. McNellis’

decision to express his First Amendment views, as a father, regarding his Christian beliefs.

          61.   Defendants’ decision to place Mr. McNellis on leave was in retaliation to Mr.

McNellis’ decision to express his views under the First Amendment regarding his Christian

belief.

          62.   At the time Defendants placed Mr. McNellis on leave, Defendants did not have a

legitimate non-discriminatory reason to place Mr. McNellis on leave or to terminate Mr.

McNellis.

          63.   At the conclusion of the Meeting, Defendants informed Mr. McNellis that it

would be conducting further investigation regarding Mr. McNellis’ email related to The Laramie

Project.

          64.   At the conclusion of the Meeting, however, Defendants already possessed all the

emails related to Mr. McNellis’ statement(s) regarding The Laramie Project.

          65.   At the conclusion of the Meeting, there was nothing further to investigate

regarding Mr. McNellis’ email statements related to The Laramie Project.

          66.   Instead, Defendants elected to “investigate” Mr. McNellis based on his expression

of his Christian faith as a father of a student at Ponderosa.

          67.   Defendants’ decision to investigate Mr. McNellis based on his statement

regarding his Christian faith constitutes an adverse employment action.

          68.   Defendants’ decision to investigate Mr. McNellis based on his statement

regarding his Christian faith was retaliatory.



                                                  8
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 9 of 19




       69.     Defendants used the investigation to try to obtain evidence that it could use to

support a decision to terminate Mr. McNellis.

       70.     During its investigation, Defendants received a complaint from a teacher claiming

that Mr. McNellis was part of a good ole boys club.

       71.     The allegation that Mr. McNellis was part of a good ole boys club included

numerous other male teachers, and administrators including Principal Ottmann.

       72.     None of the other male teachers or administrators including Principal Ottmann

were investigated, placed on leave, or otherwise disciplined.

       73.     Mr. McNellis was the only individual investigated, placed on leave, and/or

disciplined based on the vague allegations that there was a good ole boys club at Ponderosa.

       74.     Defendants’ decision to discipline Mr. McNellis based on a vague and ambiguous

allegation that he was part of a good ole boys club was pretextual.

       75.     Mr. McNellis was treated less favorably than his counterparts who were also

named as part of a good ole boys club based on his decision to express his religious affiliation

and exercise his First Amendment rights.

       76.     During its investigation, Defendants also uncovered a single email indicating that

Mr. McNellis had complained “as a parent” about Ponderosa’s communications regarding its

COVID safety protocols.

       77.     Other faculty and administrators complained about Ponderosa’s communications

regarding its COVID safety protocols.

       78.     No other faculty or administrators were investigated, placed on leave, and/or

disciplined based on their complaints regarding Ponderosa’s communications related to its safety

protocols.



                                                 9
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 10 of 19




       79.      Defendants’ decision to terminate Mr. McNellis based on a complaint related to

Ponderosa’s communications regarding its COVID safety protocols was pretextual.

       80.      Mr. McNellis was treated less favorably than his counterparts who also

complained about Ponderosa’s COVID safety protocols.

       81.      Mr. McNellis was never consulted or given the opportunity to defend himself

during the purported investigation.

       82.      On October 29, 2020, after a purported investigation, Defendants terminated Mr.

McNellis’ employment.

       83.      Ponderosa directly cited Mr. McNellis’ emails regarding The Laramie Project as

the reason for his termination.

       84.      Mr. Ottmann, the Principal of Ponderosa, admits that the contents of Mr.

McNellis email regarding The Laramie Project were the “catalyst for his firing.”

       85.      Mr. Ottmann further admits that Mr. McNellis was terminated based on his

religious views.

       86.      As a direct and proximate result of Defendants’ conduct, Mr. McNellis has been

damaged in an amount to be proven at trial.

                                   IV.       CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF
             (Defendant DCSD: Discrimination - Title VII, 42 U.S.C. § 2000 e-2(a)(1))
       87.      At all relevant times, Mr. McNellis is considered a protected class under Title VII

because he is a Christian. 42 U.S.C. § 2000e-2(a)(1).

       88.      At all relevant times, Mr. McNellis was qualified to perform the position of

Assistant Principal and Athletic Director.

       89.      Defendants discriminated against Mr. McNellis based on his religion.


                                                 10
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 11 of 19




       90.     Defendants treated Mr. McNellis less favorably than his similarly situated

employees by taking the following actions including, but not limited to, the following:

               a. Investigating only Mr. McNellis despite multiple complaints against other

                   members of Defendants’ staff and even members of the Administration;

               b. Failing to involve Mr. McNellis in the investigation against him;

               c. Failing to interview anyone who would support Mr. McNellis or provide a

                   different opinion than those who Defendants interviewed;

               d. Placing Mr. McNellis on administrative leave; and

               e. Terminating Mr. McNellis based on comments he made in his individual

                   capacity as a father of a child at Defendants’ school.

       91.     As a result of Defendants’ actions, Mr. McNellis has suffered damages, including

but not limited to the loss of past and future wages and benefits, loss of professional

opportunities, emotional distress, and mental pain and anguish.

       92.     Mr. McNellis is entitled to his attorney’s fees and costs incurred in this matter.

       93.     Mr. McNellis is further entitled to all other forms of relief as permitted under

Title VII.

                            SECOND CLAIM FOR RELIEF
               (Defendant DCSD: Retaliation - Title VII, 42 U.S.C. § 2000e-3(a))

       121.    Mr. McNellis hereby incorporates the allegations as if fully set forth herein.

       122.    At all relevant times, Mr. McNellis is considered a protected class under Title VII

because he is a Christian. 42 U.S.C. § 2000e-2(a)(1).

       123.    At all relevant times, Mr. McNellis was qualified to perform the position of

Assistant Principal and Athletic Director.

       124.    Defendants retaliated against Mr. McNellis based on his religion.

                                                 11
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 12 of 19




       125.     As a direct result of Mr. McNellis’ identification as Christian male, Defendants

subjected Mr. McNellis to actions which a reasonable employee would have found materially

adverse.

       126.     Defendants treated Mr. McNellis more adversely than similarly situated co-

workers.

       127.     Defendants’ retaliation included, but was not limited to:

                a. Investigating only Mr. McNellis despite multiple complaints against other

                    members of Defendants staff and even members of the Administration;

                b. Placing Mr. McNellis on administrative leave; and

                c. Terminating Mr. McNellis based on comments he made in his individual

                    capacity as a Christian and a father of a child at Defendants’ school.

       128.     Defendants’ retaliatory conduct was the direct and proximate cause of Mr.

McNellis’ injures, damages, and losses.

       129.     As a result of Defendants’ actions, Mr. McNellis has suffered damages, including

but not limited to the loss of past and future wages and benefits, loss of professional

opportunities, emotional distress, and mental pain and anguish.

       130.     Mr. McNellis is entitled to his attorney’s fees and costs incurred in this matter.

       131.     Mr. McNellis is further entitled to all other forms of relief as permitted under

Title VII.

                               THIRD CLAIM FOR RELIEF
              (Defendant DCSD: Discrimination – CADA, C.R.S. §§ 24-34-401 et seq)

       132.     Mr. McNellis hereby incorporates the allegations as if fully set forth herein.

       133.     At all relevant times, Mr. McNellis is considered a protected class under CADA

because he is a Christian.

                                                 12
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 13 of 19




       134.    At all relevant times, Mr. McNellis was qualified to perform the position of

Assistant Principal and Athletic Director.

       135.    Defendants discriminated against Mr. McNellis based on his religion.

       136.    Defendants treated Mr. McNellis more adversely than similarly situated co-

workers by taking the following actions including, but not limited to, the following:

               a. Investigating only Mr. McNellis despite multiple complaints against other

                   members of Defendants staff and even members of the Administration;

               b. Failing to involve Mr. McNellis in the investigation against him;

               c. Failing to interview anyone who would support Mr. McNellis or provide a

                   different opinion than those who Defendants interviewed;

               d. Placing Mr. McNellis on administrative leave; and

               e. Terminating Mr. McNellis based on comments he made in his individual

                   capacity as a father of a child at Defendants’ school.

       137.    Defendants’ conduct was the direct and proximate cause of Mr. McNellis’

injuries, damages, and losses.

       138.    As a result of Defendants’ actions, Mr. McNellis has suffered damages, including

but not limited to the loss of past and future wages and benefits, loss of professional

opportunities, emotional distress, and mental pain and anguish.

       139.    Mr. McNellis is entitled to his attorney’s fees and costs incurred in this matter.

       140.    Mr. McNellis is further entitled to all other forms of relief as permitted under

CADA.

                            FOURTH CLAIM FOR RELIEF
              (Defendant DCSD: Retaliation - CADA, C.R.S. §§ 24-34-401 et seq)

       141.    Mr. McNellis hereby incorporates the allegations as if fully set forth herein.

                                                 13
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 14 of 19




          142.   At all relevant times, Mr. McNellis is considered a protected class under CADA

because he is a Christian.

          143.   At all relevant times, Mr. McNellis was qualified to perform the position of

Assistant Principal and Athletic Director.

          144.   Defendants retaliated against Mr. McNellis based on his religion as described

herein.

          145.   As a direct result of Mr. McNellis’ opposition to the activities prohibited by

CADA, Defendants subjected Mr. McNellis to actions which a reasonable employee would have

found materially adverse.

          146.   Defendants treated Mr. McNellis more adversely than similarly situated co-

workers.

          147.   Defendants’ retaliation included, but was not limited to:

                 a. Investigating only Mr. McNellis despite multiple complaints against other

                    members of Defendants’ staff and even members of the Administration;

                 b. Placing Mr. McNellis on administrative leave; and

                 c. Terminating Mr. McNellis based on comments he made in his individual

                    capacity as a Christian and a father of a child at Defendants’ school.

          148.   Defendants’ retaliatory conduct was the direct and proximate cause of Mr.

McNellis’ injuries, damages, and losses.

          149.   As a result of Defendants’ actions, Mr. McNellis has suffered damages including

but not limited to the loss of past and future wages and benefits, loss of professional

opportunities, emotional distress, and mental pain and anguish.

          150.   Mr. McNellis is entitled to his attorney’s fees and costs incurred in this matter.



                                                  14
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 15 of 19




          151.   Mr. McNellis is further entitled to all other forms of relief as permitted under

CADA.

                                 FIFTH CLAIM FOR RELIEF
                      (Defendants: Retaliation – Free Speech, 42 USC § 1983)

          152.   Mr. McNellis hereby incorporates the foregoing allegations as if fully set forth

herein.

          153.   Section 1983 of 42 U.S.C. in pertinent part states “[e]very person who, under

color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or the

District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other

person within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities

secured by the Constitution and laws, shall be liable to the party injured in an action at law, Suit

in equity, or other proper proceeding for redress…”

          154.   When Mr. McNellis expressed his concern, as a parent, regarding the performance

of The Laramie Project at Ponderosa, he was exercising his right to free speech under the First

Amendment to the U.S. Constitution and under 42 U.S.C. §1983.

          155.   Mr. McNellis’ speech on October 2, 2020, related to a school production was on a

topic of public concern.

          156.   Defendants placed Mr. McNellis on administrative leave and launched their

investigation in retaliation against Mr. McNellis’ exercise of protected free speech.

          157.   Defendants terminated Mr. McNellis based on Mr. McNellis’ exercise of

protected free speech.

          158.   When Defendants retaliated against Mr. McNellis, as a public entity, they did so

under the color of state law.




                                                  15
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 16 of 19




          159.    As a parent of a child at Ponderosa High School, Mr. McNellis’ concern for the

wellbeing of his child and for the other students at Ponderosa drastically outweighed Ponderosa’s

interest in performing a highly controversial play, in what was already a stressful time for the

students.

          160.    Defendants’ actions to place Mr. McNellis on administrative leave, conduct an

investigation, and terminate him proximately caused Mr. McNellis significant damages including

but not limited to, mental anguish, emotional distress, loss of enjoyment of life, and damage to

his reputation.

          161.    Defendants’ decision to terminate Mr. McNellis proximately caused Mr. McNellis

significant damages, including but not limited to, loss of back pay, loss of front pay, mental

anguish, emotional distress, loss of enjoyment of life, and damage to his reputation.

          162.    Mr. McNellis is further entitled to all other forms of relief as permitted under 42

USC § 1983.

                                   SIXTH CLAIM FOR RELIEF
                              (Defendants: Due Process, 42 USC § 1983)

          163.    Mr. McNellis hereby incorporates the foregoing allegations as if fully set forth

herein.

          164.    Section 1983 of 42 U.S.C. in pertinent part states “[e]very person who, under

color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or the

District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other

person within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities

secured by the Constitution and laws, shall be liable to the party injured in an action at law, Suit

in equity, or other proper proceeding for redress…”




                                                   16
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 17 of 19




       165.    The Fourteenth (14th) Amendment in relevant part states “nor shall any State

deprive any person of life, liberty, or property, without due process of law; nor deny to any

person within its jurisdiction the equal protection of the laws.”

       166.    When Mr. McNellis expressed his concern, as a parent, regarding the performance

of The Laramie Project at Ponderosa, he was exercising his right to free speech under the First

Amendment to the U.S. Constitution and under 42 U.S.C. §1983.

       167.    Mr. McNellis’ speech on October 2, 2020, related to a school play was on a topic

of public concern.

       168.    When Defendants launched an investigation against Mr. McNellis and placed Mr.

McNellis on administrative leave and eventually terminated Mr. McNellis, they did so under the

color of state law.

       169.    Defendants placed Mr. McNellis on administrative leave and subsequently

launched an investigation into Mr. McNellis’ emails regarding the Laramie Project but refused to

listen or interview Mr. McNellis denying him of his Due Process Rights under the Fourteenth

(14th) Amendment.

       170.    Defendants also refused to interview individuals within Ponderosa who were

willing to speak on Mr. McNellis’ behalf in direct violation of Mr. McNellis’ Due Process rights

under the Fourteenth (14th) Amendment.

       171.    Ultimately Defendants’ investigation, that did not include Mr. McNellis or anyone

who would speak on his behalf, led Defendants to terminate Mr. McNellis.

       172.    As a parent of a child at Ponderosa High School, Mr. McNellis’ concern for the

wellbeing of his child and for the other students at Ponderosa drastically outweighed Ponderosa’s




                                                 17
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 18 of 19




interest in performing a highly controversial play, in what was already a stressful time for the

students.

       173.    Defendants’ actions to place Mr. McNellis on administrative leave and investigate

him proximately caused Mr. McNellis significant damages including but not limited to, mental

anguish, emotional distress, loss of enjoyment of life, and damage to his reputation.

       174.    Defendants’ decision to terminate Mr. McNellis proximately caused Mr. McNellis

significant damages, including but not limited to, loss of back pay, loss of front pay, mental

anguish, emotional distress, loss of enjoyment of life, and damage to his reputation.

       175.    Mr. McNellis is further entitled to all other forms of relief as permitted under 42

USC § 1983.



                                    PRAYER FOR RELIEF

       WHEREFORE, Mr. McNellis respectfully requests a trial by jury on all issues so triable,

and damages, as follows:

       a.      The Court award Plaintiff compensatory damages, including but not limited to

       those for emotional distress and pain and suffering;

       b.      The Court award Plaintiff actual economic damages and consequential damages

       arising out of Defendants’ conduct as established at trial;

       c.      The Court award Plaintiff punitive damages for claims as allowed by law and in

       amount to be determined at trial;

       d.      The Court award Plaintiff his reasonable attorneys’ fees and costs in this action as

       permitted by law;




                                                18
Case 1:22-cv-01636-STV Document 1 Filed 07/01/22 USDC Colorado Page 19 of 19




      e.     The Court award pre-judgment and post-judgment interest at the highest lawful

      rate; and

      f.     The Court award any such further relief as this Court deems just and proper.

      Plaintiff requests a trial to a jury on all issues so triable.

      Dated: July 1, 2022

                                             Respectfully submitted,

                                             /s Spencer J. Kontnik
                                             Spencer J. Kontnik, #47447
                                             Matthew Fenicle, # 57055
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                                               19
